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4:09cr73-003(S) - JUNIOR DOGUER


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                           TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 4:09cr73-006(S)

JUNIOR DOGUER
                                                                USM # 12381-017

                                                                Defendant’s Attorney:
                                                                Robert A. Morris (Retained)
                                                                810 Thomasville Road
                                                                Tallahassee, Florida 32303
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1, 2 and 8 of the Superseding Indictment on January 27, 2010.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:


       TITLE/SECTION                          NATURE OF                DATE OFFENSE
          NUMBER                                OFFENSE                  CONCLUDED              COUNT

 18 U.S.C. §§ 371,                Conspiracy to Commit Fraud in        October 21, 2009            1
 1029(b)(2) and 1029(c)           Connection with Counterfeit
                                  Credit Cards or Other Access
                                  Devices

 18 U.S.C. §§                     Fraud in Connection with             October 21, 2009            2
 1029(a)(2), 1029(c) and          Counterfeit Credit Cards or
 2                                Other Access Devices and
                                  Aiding and Abetting

 18 U.S.C. § 1028A                Aggravated Identity Theft           September 21, 2009           8


The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                              Date of Imposition of Sentence:
                                                              May 13, 2010



                                                              s/Robert L. Hinkle
                                                              United States District Judge
                                                              May 17, 2010
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 60 months on Count One, 97 months (concurrent) on Count Two, and
24 months (consecutive) on Count Eight, for a total of 121 months.

The Court recommends to the Bureau of Prisons:

          1.        That Defendant be designated to a facility as near as possible to Miami,
                    Florida.

The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.



                                                                 __________________________________
                                                                        UNITED STATES MARSHAL



                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of 3 years as to Counts 1 and 2, 1 year as to Count 8, to run concurrently.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;


2. the defendant shall report to the probation officer and shall submit a truthful and complete written report
within the first five days of each month;


3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;


4. the defendant shall support his or her dependents and meet other family responsibilities;


5. the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;


6. the defendant shall notify the probation officer at least 10 days prior to any change in residence or
employment;
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7. the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
or administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;


8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
or administered;


9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate with
any person convicted of a felony unless granted permission to do so by the probation officer;


10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;


11. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;


12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and


13. as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned
by the defendant’s criminal record or personal history or characteristics and shall permit the probation officer
to make such notifications and to confirm the defendant’s compliance with such notification requirement.


14. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.
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                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

1. The defendant must report in person to the probation office in the district to which
the defendant is released within 72 hours of release from the custody of the Bureau
of Prisons.

2. The defendant must not own or possess a firearm, dangerous weapon, or
destructive device.

3. The defendant must submit to testing to determine whether he is using drugs or
alcohol.

4. The defendant must provide the probation officer all requested financial
information, business or personal.

5. The defendant must make payments toward any unpaid restitution balance in the
amount of at least $100.00 per month (or any adjusted amount set by further court
order based on the defendant’s ability to pay from time to time) commencing within
60 days following defendant’s release from custody.

6. The defendant must cooperate with the probation department and/or the appropriate
state agency in the establishment and enforcement of child support payments and must
make all required child support payments.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




          Defendant                                                       Date




          U.S. Probation Officer/Designated Witness                       Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                 Restitution

                $300.00                                      -0-                  $209,155.36




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $300.00 is imposed.

No fine imposed.

                                                      RESTITUTION

Restitution in the amount of $209,155.36 is imposed.

The defendant shall make restitution to the following victims in the amounts listed below payable
to the U.S. District Clerk’s Office, Attn: Financial Section, 111 N. Adams Street, Tallahassee,
Florida 32301.
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                                                           Total Amount                    Amount of
           Name of Payee                                     of Loss                Restitution Ordered



 Amphibious Base Bank                                       $2,465.43                      $2,465.43

 Achieva CU                                                  $742.00                        $742.00

 Bank of America                                            $45,787.70                     $45,787.70

 BB and T                                                    $44.66                         $44.66

 Capital City Bank                                          $17,492.53                     $17,492.53

 Citizens Bank                                              $1,006.00                      $1,006.00

 Chase Bank                                                  $357.00                        $357.00

 Community Edu CU                                            $450.00                        $450.00

 Comerica Bank                                               $509.00                        $509.00

 Compass Bank                                                $78.48                         $78.48

 Eastern Financial CU                                        $915.00                        $915.00

 Envision CU                                                $5,924.50                      $5,924.50

 Essex Bank                                                 $1,483.00                      $1,483.00

 FSU Credit Union                                           $6,672.73                      $6,672.73

 Farmers & Merchants                                        $3,376.71                      $3,376.71

 FL Commerce CU                                             $16,184.37                     $16,184.37

 Fifth Third Bank                                            $912.00                        $912.00

 FL Telco                                                    $505.00                        $505.00

 H & R Block Bank                                            $385.45                        $385.45

 Hancock Bank                                               $1,114.00                      $1,114.00

 Harris National                                             $95.23                         $95.23
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 IBEW CU                                                    $690.00                       $690.00

 JP Morgan/Chase                                            $361.55                       $361.55

 Premier America CU                                         $500.00                       $500.00

 Premier Bank                                               $772.29                       $772.29

 Regions Bank                                              $1,510.50                     $1,510.50

 Riverside National Bank                                   $1,015.00                     $1,015.00

 Sharefax CU                                                $377.29                       $377.29

 State Employees CU; FL                                     $664.50                       $664.50

 State Employees NC                                         $504.00                       $504.00

 Sunshine Savings Bank                                     $1,117.90                     $1,117.90

 Sunstate FCU                                               $126.25                       $126.25

 SunTrust Bank                                             $36,107.34                    $36,107.34

 TMH FCU                                                    $808.50                       $808.50

 U.S. Bank                                                 $7,408.71                     $7,408.71

 Wachovia Bank                                             $50,690.74                    $50,690.74



       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the defendant
the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

Restitution in the amount of $209,155.36 is hereby ordered jointly and severally with: Co-
defendants Reginald Voltaire and Javon Wiggins.
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                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows:

in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States

                    1.        $385.32 in United States Currency

                    2.        2000 Lincoln LS, VIN: 1LNHM87A0YY877651

                    3.        Miscellaneous Items of Electronic Equipment, more specifically
                              described as:
                              a.     HP Pavilion laptop model dv2500, S/N 2CE74536CW
                              b.     HP Pavilion desktop computer model a6303w, S/N CNH80401X9
                                     with power cord
                              c.     HP w2007 flat screen monitor, S/N CNN8030QRW with cables
                              d.     HP keyboard, S/N BE75118486
                              e.     HP mouse, S/N PA0752002757
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                              f.        Sprint Palm Pre       cell   phone,   model   P100EWW,      S/N
                                        P5PE07H950W9

                    4.        Set of 4 Sunny tires, model 3890 (275/25/ZR24), with custom Dub
                              Delusion 24" rims with spinner combo
